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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                               NEWARK DIVISION


 DAVID AFZAL and ANDY                    Case No.: 2-15-08009 (MCA)(LDW)
 DECHARTIVONG, on behalf of themselves
 and all others similarly situated,

             Plaintiffs,                 SECOND AMENDED CLASS ACTION
                                         COMPLAINT
       v.

 BMW OF NORTH AMERICA, LLC, and          DEMAND FOR JURY TRIAL
 BAVARIAN MOTOR WORKS,

             Defendants.
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             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT

        Plaintiffs David Afzal and Andy Dechartivong bring this action against Defendant BMW

 of North America and Bavarian Motor Works (together, “BMW” or “Defendants”) by and

 through their attorneys, individually and on behalf of all others similarly situated, and allege as

 follows:

                                         INTRODUCTION

        1.         This is a class action lawsuit brought by Plaintiffs on behalf of themselves and

 a class of current and former owners and lessees with model years (“MY”) 2008 to 2013 BMW

 M3 vehicles containing the S65 engines (the “Class Vehicles”). 1

        2.         This action arises from Defendants’ failure, despite their longstanding

 knowledge of a material defect, to disclose to Plaintiffs and similarly situated consumers that the

 S65 engines in the Class Vehicles contain, inter alia, defective rotating assemblies (including

 defective connecting rod bearings, defective main bearings, defective connecting rod side

 clearances, and/or insufficient channels of engine lubrication) (herein, the “Rotating Assembly

 Defect”). As explained below, when the connecting rod bearings and main bearings (herein, the

 “Bearings”) begin to fail, metal debris from the defective Bearings is circulated throughout the

 engine via contaminated engine oil. This defect – which existed at the time each Class Vehicle

 was manufactured, and typically manifests itself during and shortly after the limited warranty

 period has expired – will inevitably cause the Class Vehicles to experience catastrophic engine

 failure. Further, due to insufficient channels of oil lubrication in the S65 engines, the Class




 1
   The BMW M3 is a high-performance trim model of the BMW 3 Series vehicles, also known as
 the “E90” vehicles. Plaintiffs reserve the right to amend or add to the vehicle models included in
 the definition of Class Vehicles after conducting discovery.


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 Vehicles often experience accelerated and premature catastrophic engine failure that can result in

 stalling events while the vehicle is being operated.

        3.         Significantly, the Rotating Assembly Defect poses a safety risk to the operator

 and passengers of the Class Vehicles. The failure of the Bearings can cause complete

 catastrophic engine failure while the Class Vehicles are in operation at any time and under any

 driving conditions or speeds, and the insufficient lubrication channels accelerate the time it takes

 the Class Vehicles to experience catastrophic engine failure. In particular, the vehicle’s hydraulic

 power steering is driven directly by the rotating assembly of the engine and thus, a failure of the

 engine rotating assembly will cause a sudden and complete loss of power steering, significantly

 impairing the driver’s control of the vehicle. Upon information and belief, the braking systems

 within the Class Vehicles will also suffer a loss of power assistance when the defect manifests.

 This exposes the driver and occupants of the Class Vehicles, as well as others who share the road

 with them, to an increased risk of accidents, injuries, or death. As discussed further herein,

 numerous owners and lessees of the Class Vehicles have experienced engine damage and

 catastrophic failure while operating the Class Vehicles, thus placing themselves and those around

 them in immediate danger.

        4.         Not only did Defendants actively conceal the fact that particular components

 within the Class Vehicles’ engines are defective and did not meet specifications, they did not

 reveal that the existence of the Rotating Assembly Defect would diminish the intrinsic and resale

 value of the Class Vehicles and lead to the safety concerns described herein.

        5.         BMW has long been aware of the Rotating Assembly Defect. Yet,

 notwithstanding its longstanding knowledge of this defect, BMW has routinely refused to repair

 the Class Vehicles without charge when the Rotating Assembly Defect manifests. Indeed, in

 many cases BMW has even refused to disclose the existence of the Rotating Assembly Defect

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 when Class Vehicles displaying symptoms consistent with the defect are brought in for service,

 instead choosing to ignore the defect until it has resulted in significant mechanical problems,

 necessitating costly repairs to owners and lessees. 2

        6.         Many other owners and lessees of the Class Vehicles have communicated with

 Defendants and/or Defendants’ agents to request that they remedy and/or address the Rotating

 Assembly Defect and/or resultant damage at no expense. Defendants have routinely failed to do

 so.

        7.         BMW has also refused to take any action to correct this concealed Rotating

 Assembly Defect when it manifests in the Class Vehicles outside of the factory warranty period

 of four (4) years or 50,000 miles. Since the defect often manifests shortly outside of the factory

 warranty time period for the Class Vehicles,—and given Defendants’ knowledge of this

 concealed, safety related defect—BMW’s attempt to limit the warranty with respect to the

 Rotating Assembly Defect is unconscionable and unenforceable here. 3




 2
   BMW communicates indirectly with vehicle owners and lessees through its network of
 authorized dealerships. Upon information and belief, and in addition to sales brochures and other
 such advertising materials, BMW circulates its special service messages and technical service
 bulletins to these authorized dealerships. As a result, BMW knew that its customers depended at
 least in part on its authorized dealerships for information about their vehicles, and that BMW
 authorized dealerships would have disclosed the Rotating Assembly Defect to consumers had
 BMW required it.
 3
  Many of the failures manifest just outside the factory warranty’s four-year time limit but on
 very low mileage vehicles, well-below the factory warranty’s 50,000-mile mileage limit.
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        8.         Despite notice and knowledge of the Rotating Assembly Defect from the

 numerous complaints it has received, information received from dealers, National Highway

 Traffic Safety Administration (“NHTSA”) complaints, and its own internal records, including

 durability testing and replacement part sales, BMW has not recalled the Class Vehicles to correct

 such problem, offered its customers suitable repairs or replacements free of charge, or offered to

 reimburse its customers who have incurred out-of-pocket expenses to repair the defect.

        9.         As a result of Defendants’ unfair, deceptive and/or fraudulent business

 practices, owners and/or lessees of the Class Vehicles, including Plaintiffs, have suffered an

 ascertainable loss of money and/or property and/or loss in value. The unfair and deceptive trade

 practices committed by Defendants were conducted in a manner, giving rise to substantial

 aggravating circumstances.

        10.        Had Plaintiffs and other Class Members known of the Rotating Assembly

 Defect at the time of purchase or lease, they would not have bought or leased the Class Vehicles,

 or would have paid substantially less for them.

        11.        Plaintiffs are also informed and believe, and on that basis allege, that as the

 number of complaints increased, and Class Members grew dissatisfied with the performance of

 the Class Vehicles, Defendants were forced to acknowledge that the Class Vehicles suffer from

 an inherent defect.

        12.        As a result of the defect and the monetary costs associated with attempting to

 repair the Rotating Assembly Defect, Plaintiffs and the Class Members have suffered injury in

 fact, incurred damages, and have otherwise been harmed by Defendants’ conduct.

        13.        Accordingly, Plaintiffs bring this action to redress Defendants’ violations of

 California law, including California’s consumer fraud statutes, and also seeks recovery for



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 Defendants’ breach of express warranty, breach of implied warranty, breach of the duty of good

 faith and fair dealing, and common law fraud.

                                          JURISDICTION

        14.         This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more class members,

 (ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of interest and

 costs, and (iii) there is minimal diversity because at least one plaintiff and one defendant are

 citizens of different States. This court has supplemental jurisdiction over the state law claims

 pursuant to 28 U.S.C. § 1367.

        15.         This Court has personal jurisdiction over Defendants because they have

 conducted substantial business in this Judicial District, and intentionally and purposefully placed

 Class Vehicles into the stream of commerce within the District of New Jersey and throughout the

 United States.

                                                VENUE

        16.       Venue is proper in this judicial District pursuant to 28 U.S.C. §1391 because

 Defendant BMW of North America, LLC (“BMW-NA”) maintains its principal place of business

 in this District. Moreover, Defendants transact business in this District, are subject to personal

 jurisdiction in this District, and therefore are deemed to be citizens of this District. Additionally,

 there are one or more authorized BMW dealers within this District and Defendants have

 advertised in this District and have received substantial revenue and profits from their sales

 and/or leasing of Class Vehicles in this District; therefore, a substantial part of the events and/or

 omissions giving rise to the claims occurred, in part, within this District.




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                                              PARTIES

        Plaintiff David Afzal

        17.     Plaintiff David Afzal (“Plaintiff Afzal”) is a citizen of the State of California, and

 currently resides in Pacific Palisades, California.

        18.     In or around May 2013, Plaintiff Afzal purchased a 2011 BMW M3 in Northern

 California with approximately 13,100 miles on the odometer (VIN: WBSPM9C5XBE698954).

 The vehicle was delivered to the original purchaser on November 12, 2011, and was financed

 directly through BMW Financial Services, a subsidiary of Defendant BMW-NA.

        19.     Plaintiff Afzal arranged and paid for a pre-purchase inspection conducted by

 Weatherford BMW in Berkeley, California. The vehicle was found to be in good working

 condition with no noticeable defects or abnormal noises from the engine or drivetrain. On that

 basis, Plaintiff Afzal purchased the vehicle by paying $54,814.83 directly to BMW Financial

 Services, which, at the time, reflected the current pay-off amount of the vehicle. At the time of

 purchase, the vehicle was still within the four-year/50,000-mile transferable factory warranty.

        20.     On or about March 30, 2015, at 28,253 miles, while still within the factory

 warranty, Plaintiff Afzal brought his vehicle to Steve Thomas BMW (herein “Steve Thomas

 BMW”), an authorized BMW dealership located in Camarillo, California, due to loud

 “knocking” or “rattling” noises at idle that appeared to be coming from inside or below the

 engine. Thereafter, Plaintiff Afzal, having seen reports about rod bearing wear and resulting

 engine failure in other Class Vehicles, was concerned that the noise might be due to rod-bearing

 wear in his vehicle and expressed that same concern to his Service Advisor. Plaintiff Afzal

 further played the Service Advisor at Steve Thomas BMW a clip of the engine area noise that he

 recorded with his smartphone during the vehicle’s cold-start cycle when the noise was most

 pronounced. Plaintiff Afzal was told by Steve Thomas BMW that the noises had been

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 investigated and were due to “normal exhaust heat expansion noises.” As a result, no warranty

 inspections or repairs were offered to Plaintiff. The vehicle was returned to Plaintiff Afzal later

 that same day with the same noises still occurring at idle.

        21.     On or about April 6, 2015, at 28,456 miles, Plaintiff Afzal, now increasingly

 concerned, brought his vehicle back to Steve Thomas BMW due to the same loud “knocking” or

 “rattling” noises emanating from the engine bay at idle. Again, Plaintiff Afzal expressed concern

 that the noises were symptomatic of rod-bearing wear. The vehicle remained at Steve Thomas

 BMW for several days to undergo an evaluation. On April 9, 2015, Plaintiff Afzal was again

 advised that the “noise” was attributed to “normal exhaust expansion noises,” and that Steve

 Thomas BMW and BMW-NA therefore declined to perform an inspection or replacement of

 Plaintiff’s engine bearings under warranty. Plaintiff Afzal retook possession of his vehicle on

 April 10, 2015.

        22.     Frustrated at BMW-NA’s unwillingness to investigate the issue further and

 concerned that the engine noises might be due to rod bearing wear, thus a symptom of impending

 engine failure, Plaintiff Afzal brought his vehicle to an independent BMW repair specialist on

 May 1, 2015, at 28,952 miles, for an inspection and diagnosis. Upon listening to the engine

 noises, the technician suspected the noise was not due to “normal exhaust expansion noises,” but

 was instead a symptom of excessive wear to the connecting rod bearings. In light of the potential

 for catastrophic engine failure, the technician recommended that the issue be investigated further,

 consisting of a visual inspection of the connecting rod bearings. The technician advised Plaintiff

 Afzal that to access the connecting rod bearings, the technician would have to remove the front

 wheels, disconnect the brake lines and various suspension components, lower the front sub-

 frame, drain the oil pan of its existing engine oil, remove the oil pan, then loosen the rod bolts

 and remove the connecting rod end cap on each connecting rod, at which time the technician

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 would be able to inspect the connecting rod bearings and the crankshaft journals. Plaintiff Afzal

 agreed to have the inspection completed.

        23.     The inspection of Plaintiff Afzal’s connecting rod bearings confirmed that they

 were excessively worn and the vehicle was in danger of imminent and catastrophic engine failure

 at just 28,952 miles. The technician recommended immediate replacement of the rod bearings

 and Plaintiff Afzal agreed to the repair. Set forth below is a picture illustrating the excessive

 wear of his vehicle’s connecting rod bearings at the time of replacement:




        24.     Plaintiff Afzal’s engine received new connecting rod bearings, connecting rod

 bolts, and the oil pan was filled with fresh engine oil and a new oil filter was installed. Plaintiff

 paid $539.95 for the new bearings, $349.95 for the new rod bolts, $185.00 for new engine oil and

 oil filter, and $1,075 in labor, for a total of $2,217.18. After this repair, the “knocking” and

 “rattling” noises, previously brought to the attention of Steve Thomas BMW, immediately

 disappeared, and as of the filing of this complaint, have not returned.



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        25.     At all times relevant to this complaint, the vehicle had regularly scheduled engine

 oil changes that met or exceeded the recommended oil-change intervals specified by BMW.

        Plaintiff Andy Dechartivong

        26.     Plaintiff Andy Dechartivong (“Plaintiff Dechartivong”) is a citizen of the State of

 California, and currently resides in Downey, California.

        27.     On or about December 2014, Plaintiff Dechartivong purchased a pre-owned 2011

 E92 M3 from South Bay BMW, an authorized BMW dealership located in Torrance, California.

 At the time of purchase, the vehicle had just 24,200 miles on the odometer.

        28.     In early September 2016, at approximately 28,800 miles, Plaintiff Dechartivong

 experienced sudden catastrophic engine failure. In particular, the engine shut off abruptly while

 Plaintiff Dechartivong was driving, causing a sudden loss of power, electrical function, and

 power steering. Subsequent attempts to restart the vehicle failed.

        29.     Plaintiff Dechartivong had the vehicle towed to an independent BMW service

 center on or about September 12, 2016. An inspection of the vehicle revealed severe rod-bearing

 wear, with extensive damage to several of the rod bearings and corresponding journals on the

 crankshaft, ultimately resulting in engine failure. Below are photos of the damage to the S65

 engine in Plaintiff Dechartivong’s vehicle as captured during the inspection on or about

 September 12, 2016:




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        30.     The independent service center confirmed that Plaintiff Dechartivong would need

 a replacement engine and quoted him a total of $25,375.90 for installation of a used engine.

        31.     To obtain a second opinion, Plaintiff Dechartivong then had the vehicle towed to

 McKenna BMW, an authorized BMW dealership in Norwalk, California, and paid for an

 inspection by BMW authorized technicians. The BMW technicians confirmed the findings of the

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 independent BMW service center and confirmed the engine could not be repaired. McKenna

 BMW quoted Plaintiff Dechartivong $31,800 for installation of a replacement engine.

        32.     Plaintiff Dechartivong repeatedly requested goodwill and/or warranty coverage

 for a new engine from both Defendant BMW-NA and McKenna BMW both orally and in

 writing. His requests were denied. At present, Plaintiff Dechartivong’s vehicle is still without a

 working engine and is being stored at his home. He has not had use of the vehicle since the

 engine failed in early September 2016.

        The Defendants

        33.     Defendants are automobile design, manufacturing, distribution, and/or service

 corporations doing business within the United States. Furthermore, Defendants design, develop,

 manufacture, distribute, market, sell, lease, warrant, service, and repair passenger vehicles,

 including the Class Vehicles.

        34.     Defendant Bavarian Motor Works (“BMW-GER”), is a corporation organized and

 existing under the laws of Germany, with its principal place of business located in Munich,

 Bavaria, Germany. BMW-GER is the parent corporation of BMW of North America, LLC.

        35.     Defendant BMW-NA is a corporation organized and existing under the laws of

 the State of Delaware, with its principal place of business located at 300 Chestnut Ridge Road in

 Woodcliff Lake, New Jersey. BMW-NA is BMW-GER’s U.S. sales and marketing division,

 which oversees sales and other operations across the United States. BMW-NA distributes BMW

 vehicles and sells these vehicles through its network of dealers. Money received from the

 purchase of a BMW vehicle from a dealership flows from the dealer to BMW-NA.

        36.     BMW-NA and BMW-GER sell BMW vehicles through a network of dealerships

 that are the agents of BMW-NA and BMW-GER.



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        37.     There exists, and at all times herein existed, a unity of ownership between BMW-

 NA, BMW-GER and their agents such that any individuality or separateness between them has

 ceased and each of them is the alter ego of the others.

        38.     Upon information and belief, Defendant BMW-GER communicates with

 Defendant BMW-NA concerning virtually all aspects of the BMW products it distributes within

 the United States.

        39.     Upon information and belief, the design, manufacture, distribution, service,

 repair, modification, installation and decisions regarding the Class Vehicle engines, as it relates

 to the Rotating Assembly Defect, were performed exclusively by Defendants BMW-NA and

 BMW-GER.

        40.     Upon information and belief, Defendants BMW-NA and BMW-GER developed

 the post-purchase owner’s manuals, warranty booklets and information included in maintenance

 recommendations and/or schedules for the Class Vehicles.

        41.     BMW-NA and BMW-GER are collectively referred to in this complaint as

 “BMW” or “Defendants” unless identified separately.

        42.     BMW engages in continuous and substantial business in New Jersey and

 California.

        43.     Based upon information and belief, Plaintiffs allege that at all times mentioned

 herein, each and every Defendant was acting as an agent and/or employee of each of the other

 Defendants, and at all times mentioned was acting within the course and scope of said agency

 and/or employment with the full knowledge, permission, and consent of each of the other

 Defendants. In addition, each of the acts and/or omissions of each Defendant alleged herein were

 made known to, and ratified by, each of the other Defendants.



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                        TOLLING OF STATUTES OF LIMITATIONS

          44.   Any applicable statute(s) of limitations have been tolled by Defendants’ knowing

 and active concealment and denial of the facts alleged herein. Plaintiffs and the members of the

 Class could not have reasonably discovered the true, latent nature of the engine defect until

 shortly before this class action litigation was commenced.

          45.   In addition, even after Plaintiffs and Class Members contacted Defendants and/or

 their authorized dealers for vehicle repairs concerning the Rotating Assembly Defect, they were

 routinely told by Defendants and/or through its dealers that the Class Vehicles were not

 defective. As described below, the true cause of the premature and catastrophic engine failure is

 the defective rotating assembly.

          46.   Defendants were and remain under a continuing duty to disclose to Plaintiffs and

 the members of the Class the true character, quality and nature of the Class Vehicles, i.e. that the

 connecting rod bearings, the main bearings, and lubrication systems are defective and will

 require costly repairs, pose safety concerns, and diminish the resale value of the Class Vehicles.

 As a result of the active concealment by Defendants, any and all applicable statutes of limitations

 otherwise applicable to the allegations herein have been tolled.

                                    FACTUAL ALLEGATIONS

 A.       The Defective Rotating Assembly within the Class Vehicles

          47.   BMW is a multinational corporation with over 105,876 employees worldwide.

 BMW is currently the eleventh largest automobile manufacturer in the world by revenue.

          48.   The S65 V8 engine (the “S65 Engine”), which BMW used in the Class Vehicles,

 is a four-liter V8 double overhead camshaft (“DOHC”) piston engine that was manufactured by

 Defendants. The S65 Engine utilizes a conventional wet-sump lubrication system with two oil

 pumps.

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        49.     As background, the S65 Engine contained in the Class Vehicles uses two sets of

 four reciprocating pistons to convert pressure into a rotational force. Gasoline is mixed with air

 in the combustion chambers of the engine. To generate such rotating motion, a four-step

 sequence is used (the “Combustion Cycle”). First, the intake stroke begins with the inlet valve

 opening and a vaporized fuel mixture being pulled into the combustion chamber. Second, the

 compression stroke begins with the inlet valve closing and the piston beginning its movement

 upward, compressing the fuel mixture in the combustion chamber. Third, the power stroke

 begins when the spark plug ignites the fuel mixture, expanding the gases and generating power

 that is transmitted through the piston to the crankshaft. And fourth, the exhaust stroke begins

 with the exhaust valve opening and the piston moving back up, forcing the exhaust gases out of

 the cylinder. The exhaust valve then closes, the inlet valve opens, and the Combustion Cycle

 repeats itself. A diagram of the Combustion Cycle is below:




        50.     The pistons are connected to the crankshaft via the connecting rods. As the

 connecting rods move up and down during the Combustion Cycle, this causes the crankshaft to

 rotate, resulting in power that is ultimately transmitted to the drive wheels of the vehicle. During


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 this cycle, the crankshaft rotates many thousands of times per minute within each of the eight (8)

 connecting rods. In order to reduce friction and promote longevity, this design utilizes a bearing

 placed between the connecting rod and crankshaft surfaces. As a result, the connecting rod

 bearings (or “rod bearings”), allow the crankshaft to rotate within the connecting rods during the

 Combustion Cycle. An exemplar diagram of the piston, connecting rod, connecting rod bearing

 and crankshaft are shown below:




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        51.     The main bearings, also referred to as main crankshaft bearings, support the

 crankshaft and help it rotate. The main bearings hold the crankshaft in place and prevent the

 forces, created by the piston and transmitted to the crankshaft through the connecting rods, from

 dislodging the crankshaft, instead forcing the crank to convert the reciprocating movement into

 rotational power. The main bearings are mounted in the crankcase; however, the S65 Engine

 does not utilize a bearing cap. An exemplar diagram of the main bearings is included below:




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        52.     When the Class Vehicles are in operation, engine oil is used to lubricate the

 piston, cylinder wall, connecting rod bearings, main bearings, and other rotating and moving

 components as the pistons move up and down through the four-stroke sequence. Engine oil is

 necessary to reduce wear on moving parts throughout the engine, improve sealing, and to cool

 the engine by carrying away heat from the moving parts. Engine oil also cleans and transports

 contaminants away from the engine to the oil filter. Oil is pumped and pressurized throughout

 the engine by two oil pumps in the S65 Engine. The oil pumps draw oil from the oil pan, located

 underneath the crankshaft assembly. The oil pumps pressurize the oiling system, forcing engine

 oil through the oil filter and then through passages in the engine to properly lubricate and reduce

 friction of the internal engine components. The engine oil then returns to the oil pan through

 small drainage holes located throughout the engine where it will be re-circulated by the oil pump.



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 Below is a diagram illustrating the typical path and channels of engine oil lubrication in an

 overhead cam engine:




        53.     The Bearings are also lubricated with engine oil in order to allow the pistons to

 rotate along the crankshaft via the connecting rods and connecting rod bearings. The main

 bearings allow the crankshaft to convert the reciprocating movement of the pistons into

 rotational power or force. The below picture illustrates a new, unused connecting rod bearing

 designed for the S65 Engine:




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        54.     In a properly designed and manufactured engine, oil thoroughly coats the bearing

 surfaces so that the bearings rarely, if ever, actually touch the crankshaft or connecting rods, and

 are instead separated from metal-to-metal contact by a thin barrier of oil.

        55.     The defect inherent in the S65 Engine’s rotating assembly causes an insufficient

 supply of engine oil to coat the bearing surfaces, compromising the integrity of the oil barrier

 between the bearings and the corresponding metal parts they are designed to protect. When the

 Rotating Assembly Defect manifests, it results in excessive and frequent contact between the

 connecting rods and connecting rod bearings, as well as, between the crankshaft and main

 bearings. This contact causes accelerated wear on the Bearings surfaces in the Class Vehicles,

 ultimately causing them to disintegrate and fracture.

        56.     As the Bearings fracture, large amounts of metal debris begin to accumulate in the

 engine oil. As a result, the oil becomes so contaminated that the oil filter can no longer remove

 the plethora of metal debris from the oiling system. This contaminated engine oil is re-circulated

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 throughout the engine by the oil pumps, causing damage to the various engine components and

 eventually leading to catastrophic engine failure.

        57.     Additionally, as the connecting rod bearings and main bearings continue to

 fracture, the acceptable tolerances between the Bearings, the connecting rods, and the crankshaft

 begin to rapidly deteriorate. Eventually, the Class Vehicles begin producing a “knocking” or

 “rattling” sound originating from the engine as a result of the deteriorating Bearings. The

 defective Bearings may eventually cause the piston to break through the engine block due to

 such deterioration – this space is referred to in the automobile industry as “play.”

        58.     Below are exemplar photographs of failed connecting rod bearings removed from

 a Class Vehicle displaying typical “knocking” and “rattling.” As shown in the below

 photographs, the surfaces of the bearings have worn away due to severe metal-on-metal contact

 with the crankshaft revealing the copper inner core of the rod bearings. In some cases, fractures

 are also plainly visible where entire pieces of the bearings have broken away due to severe wear:




                                                  20
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         59.     The main bearings in the Class Vehicles suffer from the same defect as the

 connecting rod bearings, i.e. excessive wear and eventual failure. Pictured below are main

 bearings that failed in a class vehicle:




         60.     As metal debris is circulated throughout the engine via the engine oil, damage is

 caused to other key engine components. The metal debris and the loss of bearing integrity cause


                                                 21
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 damage to other critical components of the rotating assembly, including the crankshaft. Pictured

 below is the resulting damage to the crankshaft journal surface of a Class Vehicle due to

 premature connecting rod and main bearing wear:




        61.     In the Class Vehicles, the lubrication channels are defective and clog under

 normal use and proper maintenance. When the lubrication channels clog, engine oil is unable to

 be both pumped throughout the engine (through the oil pumps) or adequately return to the oil

 pan, causing a condition known as oil starvation in the engine. This results in insufficient

 lubrication throughout the Class Vehicles’ engine, resulting in premature wear of the engine

 components and catastrophic engine failure that can result in stalling events while the vehicle is

 being operated.

        62.     The Rotating Assembly Defect poses serious safety and security issues for

 operators and occupants of the Class Vehicles. By way of example, the California Department of

 Motor Vehicles asserts that stalled engines pose a significant safety risk and, as part of its safety

                                                  22
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 curriculum, instructs how to properly respond to a stalled action in order to avoid further risk of

 injury. 4

         63.     NHTSA takes a similar view of engine failure during vehicle operation. For

 instance, according to Forbes, in 2011 the NHTSA recalled certain Chrysler and Dodge vehicles

 due to “engine seizure because of connecting rod bearing failure . . . Engine seizure could

 increase the risk of a crash.” 5

         64.     Defendants failed to adequately research, design, test and/or manufacture the

 Class Vehicles before warranting, advertising, promoting, marketing, and selling the Class

 Vehicles as suitable and safe for use in an intended and/or reasonably foreseeable manner.

 B.      Defendant’s Knowledge of the Rotating Assembly Defect

         65.     Defendant’s knowledge of the Rotating Assembly Defect stems from several

 sources, including (1) an inherent and obvious design flaw in the S65 Engine’s rotating

 assembly; (2) numerous early reports directly to BMW NA from owners whose cars manifested

 the Rotating Assembly Defect; and (3) the manifestation of the Rotating Assembly Defect in the

 S85, the predecessor to the S65 with an identical rotating assembly. Any one of these sources of

 information was sufficient to charge Defendants with knowledge of the Rotating Assembly

 Defect in the Class Vehicles prior to the sales that form the basis of this complaint.




 4
   See https://www.dmv.ca.gov/portal/wcm/connect/ada60d78-9cfa-4250-bd2b-
 f616ef9dbe43/unit_8.pdf?MOD=AJPERES, at 08.F.07 (last visited Apr. 9, 2015).
 5
   http://www.forbes.com/sites/altheachang/2011/09/30/engine-problems-prompt-chrysler-recalls/
 (last visited Mar. 29, 2015); see also http://www.foxnews.com/leisure/2015/09/28/hyundai-
 recalls-470000-sonatas-to-replace-engines/ (last visited February 25, 2016).
                                                  23
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        Inherent Flaw in the Manufacture of the S65’s Rotating Assembly

        66.     Perhaps the most obvious source of Defendants’ knowledge of the defect in the

 rotating assembly of every Class Vehicle is the insufficient rod and main bearing clearance that

 is inherent in the S65 Engine. Notably, at least until 2011, Defendant BMW sourced the rod

 bearings used in the S65 Engines from Mahle-Clevite, a well-known manufacturer of bearings in

 the automotive industry. Mahle-Clevite was the original equipment (“OEM”) supplier of

 bearings in many prior BMW engines, and to others in the automotive industry.

        67.     As an OEM supplier of bearings across the automotive industry, Mahle-Clevite

 publishes specifications for rod and main bearing clearances that are generally regarded as the

 industry standard. Per those industry standards, an engine should have a minimum of 0.00075” to

 0.0010” of clearance per inch of crankshaft diameter. Mahle-Clevite also recommends an

 additional 0.0005” of clearance on high-horsepower and/or high-RPM engines, such as the Class

 Vehicles with the S65 Engine.

        68.     Given the 52mm (2.047”) crankshaft diameter on the S65 Engine at the rod

 journals, industry standards would require 0.00203” to 0.00254” of rod bearing clearance to

 ensure proper lubrication.

        69.     Measurements from dozens of disassembled, unmodified S65 Engines show that

 BMW built the S65 Engines with just half of Mahle-Clevite’s recommended minimum rod

 bearing clearances. Those measurements reveal that the S65 Engines were manufactured with

 just 0.00125” of rod bearing clearance on average. The result is that every Class Vehicle sold by

 Defendants was manufactured with inadequate rod bearing clearances significantly below the

 minimum industry standard.

        70.     The same is true for the main bearings in the S65 Engines. According to the

 generally accepted industry standards published by Mahle-Clevite, the S65 Engine’s 60mm

                                                24
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 (2.3622”) crankshaft diameter at the main journals should have resulted in main bearing

 clearances of a minimum of 0.0227” to 0.00286.” Again, as with the rod-bearing clearances,

 BMW departed from those generally accepted standards and manufactured the S65 Engine with

 an average of just 0.00125” of main bearing clearance.

        71.        Mahle-Clevite’s published materials warn of the consequences of insufficient rod

 and main bearing clearance. Specifically, it can result in insufficient lubrication of the bearing

 and crankshaft surfaces because the excessively tight clearances restrict oil flow, resulting in an

 insufficient oil film “cushion” between the bearings and the corresponding crankshaft journals.

 Mahle-Clevite further warns that the resulting metal-on-metal contact between the bearings and

 crankshaft will lead to degradation of both the bearings and crankshaft, with eventual

 catastrophic engine failure. This, of course, is precisely what has happened in the Class Vehicles,

 though because of the latent nature of the defect, many Class members may be presently unaware

 that their bearings are deteriorating prematurely and need to be replaced to prevent a catastrophic

 engine failure.

        72.        In short, when Defendant BMW choose to manufacture the S65 Engine with just

 0.00125” of rod and main bearing clearance instead of the 0.00203” to 0.00254” of rod bearing

 clearance and 0.0227” to 0.00286” of main bearing clearance called for by Mahle-Clevite’s

 generally accepted design standards in the industry, Defendants knew or should have known that

 excessive and premature bearing failure was a foreseeable consequence of its chosen design,

 with a resulting vastly increased likelihood of premature engine failure.

        BMW-NA and BMW-GER Investigate Specific Reports of the Rotating
        AssemblyDefect Very Early in S65 M3 Model Run

        73.        Aside from the actual or constructive notice that flowed from BMW’s decision to

 manufacture the S65 Engine with less than half of the rod and main bearing clearance called for


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 under generally accepted standards, Defendants had actual notice of the bearing defect no later

 than June 2008, and it is believed that at least one motor with a manifestation of the defect was

 sent back to the BMW factory in Germany in June 2008 for disassembly and analysis. 6

          74.    As specifically detailed in message board threads, an owner of an almost new E92

 M3 presented his vehicle to a BMW dealership multiple times in or about May 2008 with

 “rattling” and “ticking” noises from his engine. 7 The owner was first told that the noises were

 not normal, and the dealer requested it be allowed to keep the vehicle for further investigation.

 After the dealer probed further, the owner was later told that the noises had been investigated and

 were caused by normal exhaust heat expansion and contraction. 8

          75.    The rattling and ticking noises got worse, so the owner returned to his dealer in

 early June 2008. A senior engineer from Defendant BMW-NA happened to be visiting the

 dealership that day. The BMW-NA engineer conducted a test drive of the vehicle, at which time

 he noted that the noise was of serious concern and seemed to be emanating from within the

 engine itself. According to the owner, the BMW-NA engineer told the dealer not to touch the

 engine, and instead requested the owner’s permission to allow the motor to be shipped to BMW-

 GER, so that it could be disassembled and inspected. 9 In a later post on the thread, the owner

 wrote that he received a follow-up call from the dealer who was still waiting for the owner’s




 6
   Plaintiffs’ belief in that regard is derived from posts on “M3forum.net” and “M3Post.com;”
 popular message boards pertaining to S65-equipped BMW M3s which Defendants are known to
 regularly monitor and review.
 7
     See http://www.m3forum.net/m3forum/showthread.php?t=213104.
 8
     See http://www.m3forum.net/m3forum/showthread.php?t=213104&page=2 (Posts 14 and 15).
 9
     See http://www.m3post.com/forums/showthread.php?t=147661&highlight=snowm3.
                                                  26
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 approval, and noting that “BMW was anxious to get his engine back ASAP.” 10 (Emphasis

 added.)

           76.   It is understood and believed that, at that time, based on their own inspection of a

 Class Vehicle, Defendants were confronted with clear evidence of the defect. Rather than replace

 or repair that particular engine, the customer was instead supplied with a new E92 M3 vehicle. 11

           77.   Two other reports of E9x M3’s exhibiting identical symptoms were posted on

 M3Post.com in June 12 and July 2008, 13 with one of the posters noting his BMW service

 technician believed the problem was “bearings.” 14 That poster followed-up in October 2008,

 reporting that BMW replaced his vehicle. 15

           78.   This same message board reveals that, in September 2008, another E9x M3 owner

 presented to a BMW dealership with the same “rattling” and “ticking” noises from his engine

 experienced by the other posters. 16




 10
   See http://www.m3post.com/forums/showthread.php?t=147661&highlight=snowm3&page=2
 (Post 37).
 11
   See http://www.m3post.com/forums/showthread.php?t=147661&highlight=snowm3&page=3
 (Post 45).
 12
      See http://www.m3post.com/forums/showthread.php?t=149811 (attaching audio clip of noise).
 13
      See http://www.m3post.com/forums/showthread.php?t=147661&page=3 (Post 54).
 14
      See http://www.m3post.com/forums/showthread.php?t=167402&highlight=knifegun (Post 3).
 15
   See http://www.m3post.com/forums/showthread.php?t=167402&highlight=knifegun&page=3
 (Post 45).
 16
      See http://www.m3post.com/forums/showthread.php?t=147661&page=5 (Post 94).


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          79.    In October 2008, another owner reported on the same message board that he

 brought his car to East Bay BMW and the service technician noticed a ticking noise he believed

 to be caused by “rod bearings.” 17

          80.    In December 2008, yet another owner reported that he brought his E9x M3 to a

 BMW dealership with the same “rattling” and “ticking” noises. He was asked to leave his vehicle

 at the dealership during which the dealer planned to contact BMW-NA. 18 After originally being

 told that the sound was “not normal in any way,” dealership personnel called the owner back to

 advise that the noises were instead caused by normal exhaust expansion and contraction, the

 same incorrect explanation that Plaintiff Afzal was given by technicians at Steve Thomas

 BMW. 19

          81.    The same message board as well as numerous other online resources reveal that,

 between December 2008 and the end of 2012, dozens of E9x M3 owners in North American

 reported “rattling” and “ticking” noises— symptoms of rod bearing failure—to BMW

 dealerships, with numerous others suffering outright engine failures. 20 It is believed and

 understood that, consistent with BMW-NA’s established procedures, any episodes reported to

 BMW authorized dealerships were reported to Defendant BMW-NA.




 17
   See http://www.m3post.com/forums/showthread.php?t=167402&highlight=knifegun&page=3
 (Post 47).
 18
      See http://www.m3post.com/forums/showthread.php?t=147661&page=5 (Post 103.)
 19
      See http://www.m3post.com/forums/showthread.php?t=147661&page=6 (Post 114).
 20
    See, e.g., http://www.m3post.com/forums/showthread.php?t=307802;
 http://www.bimmerfest.com/forums/showthread.php?t=439844;
 http://www.m3post.com/forums/showthread.php?t=786615.
                                                  28
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        Manifestation of Identical Rotating Assembly Defects in S85-Equippped BMWs

        82.     Another source of Defendants’ knowledge of the defects inherent in the S65

 Engine stems from BMW’s appreciation of the same exact defect in its predecessor engine, the

 10-cylinder S85 engine in the E6x M5 and M6 vehicles.

        83.     The S85 engine was first introduced in 2005, three years before the first S65-

 equipped Class Vehicle was sold. From a design perspective, the S85 engine (a/k/a S85B50) is

 essentially a 10-cylinder version of the 8-cylinder S65 engine (a/k/a SB65B40), a fact that is

 underscored by Defendant’s own marketing materials which tout the fact that “[t]he S65B40 is

 derived from its big brother, the S85B50.”

        84.     Of particular note to this case is that, with the sole exception of the longer

 crankshaft in the S85, the rotating assemblies of both engines are identical. Indeed, the S65 and

 S85 engines share common part numbers for every other component in their rotating assemblies,

 including rod bearings, main bearings, guide bearings, connecting rods, rod bolts, wrist pins,

 snap rings, pistons, and piston rings. It is further understood and believed that the only difference

 in the crankshafts is their length and the addition of journals for the extra two cylinders, but that

 in all other relevant respects—including the size of the crank journals—the crankshafts in the

 S65 and S85 engines are identical. Thus, the manifestation of a defect in the design of the S85

 engine’s rotating assembly should have put Defendants on notice of the high likelihood of a

 similar problem in the S65 engine’s rotating assembly.

        85.     Plaintiffs are aware that, no later than July 2007, Defendant BMW-NA was

 informed of at least one catastrophic engine failure in an S85-equipped BMW E60 M5 due to rod




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 bearing failure. 21 This particular engine failure was the subject of extensive public discussion on

 a popular online forum pertaining to the BMW M5, a forum which BMW-NA employees were

 known to periodically review and monitor. 22 This particular engine was presented to a BMW

 dealership in July 2007, at which point it was fully disassembled and inspected, with the findings

 (i.e., catastrophic engine failure due to premature rod-bearing degradation) reported to Defendant

 BMW-NA. 23

        86.     Plaintiffs further believe and are confident that discovery in this case will reveal

 that, between July 2007 and March 2012, numerous other S85 experienced manifestations of

 premature rod-bearing wear, including engine failures, and that many if not most of these

 vehicles were presented to BMW dealerships for inspection with the findings conveyed to

 Defendant BMW NA. See, e.g., http://www.m5board.com/vbulletin/e60-m5-e61-m5-touring-

 discussion/119816-i-need-new-engine.html; http://www.m5board.com/vbulletin/e60-m5-e61-

 m5-touring-discussion/202643-500-s85-engine.html; http://www.m5board.com/vbulletin/e60-

 m5-e61-m5-touring-discussion/202643-500-s85-engine.html;

 http://www.m5board.com/vbulletin/e60-m5-e61-m5-touring-discussion/306849-s85-engine-

 replacement-registry-3.html.

        87.     Below are images of rod bearings removed from S85 engines showing identical

 wear patterns as those in the Class Vehicles:



 21
   See http://www.m5board.com/vbulletin/e60-m5-e61-m5-touring-discussion/99641-uh-oh-
 blown-engine-2.html#post1083181.
 22
   See http://www.m5board.com/vbulletin/e60-m5-e61-m5-touring-discussion/103505-blown-
 engine-replacement.html.
 23
   http://www.m5board.com/vbulletin/e60-m5-e61-m5-touring-discussion/103733-pics-blown-
 engine.html.
                                                  30
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        Other Sources of Defendants’ Knowledge

        88.    The experiences recounted above are by no means isolated or outlying

 occurrences. Indeed, the Internet is replete with examples of blogs and other websites where

 consumers have complained of the exact same Rotating Assembly Defect within the Class

                                                31
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 Vehicles. Upon information and belief, Defendants, through (1) their own records of customers’

 complaints, (2) dealership repair records, (3) records from the National Highway Traffic Safety

 Administration (“NHTSA”), (4) warranty and post-warranty claims, (5) internal durability

 testing, and (6) other various sources, were well aware of the engine defect but failed to notify

 consumers of the nature and extent of the problems with the Class Vehicles’ S65 Engine or

 provide any adequate remedy.

        89.     BMW routinely monitors the internet for complaints similar in substance to those

 quoted above. BMW’s customer relations department routinely monitors the internet for

 customer complaints, and BMW has retained the services of third-parties to do the same. Further,

 the customer relations division regularly receives and responds to customer calls concerning,

 inter alia, product defects. Through these sources, Defendants were made aware of the Rotating

 Assembly Defect. The complaints also indicate BMW’s knowledge of the Rotating Assembly

 Defect and its potential danger.

        90.     Moreover, Defendants also should have known of the defective nature of the

 rotating assembly due to the sheer number of reports of engine problems and replacement part

 sales relating to the connecting rod bearings, main bearings, and/or lubrication channels. For

 instance, Defendants’ customer relations department, which interacts with BMW-authorized

 service technicians in order to identify potentially widespread vehicle problems and assist in the

 diagnosis of vehicle issues, has received numerous reports of engine problems relating to the

 connecting rod bearings, main bearings, and insufficient and contaminated lubrication channels

 in the S65 Engines. Customer relations also collects and analyzes field data including, but not

 limited to, repair requests made at dealerships and service centers, technical reports prepared by

 engineers that have reviewed vehicles for which warranty coverage is requested, parts sales

 reports, and warranty claims data.

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           91.   Defendants’ warranty department similarly reviews and analyzes warranty data

 submitted by its dealerships and authorized technicians in order to identify defect trends in its

 vehicles. Defendants dictate that when a repair is made under warranty (or warranty coverage is

 requested), service centers must provide Defendants with detailed documentation of the problem

 and the fix that describes the complaint, cause, and correction, and also save the broken part in

 case Defendants later determine to audit the dealership or otherwise verify the warranty repair.

 For their part, service centers are meticulous about providing this detailed information about in-

 warranty repairs to Defendants because Defendants will not pay the service centers for the repair

 if the complaint, cause, and correction are not sufficiently described.

           92.   Defendants knew or should have known about the Rotating Assembly Defect

 because of the high number of replacement parts likely ordered from BMW. All BMW service

 centers are required to order replacement parts, including engines, piston assemblies, connecting

 rod bearings and main bearings directly from Defendants. Other independent vehicle repair

 shops that service Class Vehicles also order replacement parts directly from Defendants.

 Defendants routinely monitor part sales reports, and are responsible for actually shipping parts

 requested by dealerships and technicians. Thus, Defendants have detailed, accurate, and real-

 time data regarding the number and frequency of replacement part orders. The sudden increase in

 orders for S65 Engines and engine components used in the Class Vehicles was known to

 Defendants, and should have alerted them to the scope and severity of the Rotating Assembly

 Defect.




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        93.     The Defective Rotating Assembly affecting the Class Vehicles is widely

 acknowledged in the industry, as vendor websites selling aftermarket replacement bearing kits

 prominently note. The following quotes are from five of those websites: 24

        Vendor 1:

        “The mighty and powerful BMW S65 has an “Achilles Heel”, it’s rod
        bearings. As great and powerful as BMW made the S65 engine, they left it
        lacking in a critical area—it’s rod bearing reliability.

        •       Q: Do I need VAC Bearings?
        A: Unfortunately, you might... BMW will not disclose their logic as to
        why the build engines the way they do. Its up to engine builders such as
        ourselves to come up with ways to improve something with millions of
        dollars of R&D. S65s experience rod bearing wear on both street and track
        cars. See the used oil analysis image provided by a customer who is
        experiencing rod bearing failure under normal driving conditions! Even
        normal street engine use is leading to bearing failure at a much higher rate
        that expected.”


        Vendor 2:
        “Rod bearings continue to be a sore subject among M3, M5, and M6
        owners. The rod bearings in the S54 I6, S85 V10, and S65 V8 have been
        known to fail within 60,000 miles. There could be a number of reasons for
        premature failure with a lot of finger-pointing as to the real cause.
        Whatever the reason, rod bearings are wearing out sooner than expected
        and their replacement should be considered a required preventative
        maintenance item. . .

                                     *       *        *

        * BMW released an updated rod bearing around 2011 that uses different
        materials than the original design. The old rod bearings were constructed
        with several layers or metal, including copper and lead. If an engine oil


 24
    See https://store.vacmotorsports.com/vac-performance-coated-rod-bearing-kit-bmw-s65-
 p3479.aspx; http://www.turnermotorsport.com/BMW-E90/c-392-rod-bearing-kits.aspx;
 http://www.bimmerworld.com/S65-Treated-Rod-Bearing-Upgrade-Kit_2.html;
 http://www.bimmerboost.com/content.php?3482-VAC-Motorsports-S65-Maintenence-Kit-(rod-
 bearings-rod-bolts-oil-pan-baffle); https://www.ecstuning.com/BMW-E92-M3-
 S65_4.0L/Engine/Mechanical/ES2981591/ (last visited Feb. 26, 2016).


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       analysis revealed high levels of these specific metals then it was a sure
       sign that the rod bearings were nearing replacement. However, the new
       BMW bearings do not use copper or lead so an oil analysis will not alert
       you to heavy bearing wear. The new bearings are also a harder material
       which prolonged the life of the bearing but increased the likelihood of
       crankshaft damage if a bearing failed. Even though the bearing
       theoretically lasts longer it's even more important to preventatively replace
       them before they damage the crankshaft.”

       Vendor 3:
       “Our S65 Treated Rod Bearing Upgrade Kit is the ultimate solution for the
       E9X M3’s high-revving S65 V8 engine. These high-tech, race bred
       engines have a rod bearing problem from the factory, much like its
       predecessor’s S54 engine. We’ve seen multiple engines throw rods, and
       replacement after the fact will cost you over $15,000. . .”

       Vendor 4:

       “We all know the S65 has a rod bearing issue. Not all engines suffer from
       premature bearing wear/failure, but enough do. We have had quite a few
       S65s through our machine shop and some showed some serious wear.
       BMW has had rather embarrassing issues with rod bearings in the past so
       we wanted to get ahead of the curve and release the 3 proven products that
       will strengthen our favorite BMW engines. For those interested in the
       ultimate in oil management, our billet dry sump kit is for you!”

       Vendor 5:

       “The S65 engine has a known history of rod bearing failure, and if your
       engine is higher mileage, don't let this catastrophic failure happen to you.
       Replace your rod bearings and prevent a spun bearing which can trash
       your crankshaft.”




                                                35
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 C.       Complaints Filed with NHTSA
          94.   Representative examples of complaints on the NHTSA website regarding the

 Class Vehicles are included below (with emphasis supplied in capitalized bold, underlined

 letters). 25


 Date Complaint Filed: 07/20/2013
 Date of Incident: 06/23/2013
 NHTSA ID Number: 10525919
 Manufacturer: BMW of North America, LLC
 Vehicle Identification No. (VIN): WBSWD935X8P...(M3)
        SUMMARY:
        THE ENGINE IN MY BMW DIED AT 74,598 MILES, NO WARNING LIGHTS AND
        NO WEIRD NOISES. IT DIED WHEN I WAS DRIVING THE SPEED LIMIT (65) ON
        THE HIGHWAY DOING NOTHING OUT OF THE ORDINARY, WHEELS LOCKED
        UP IN TRAFFIC SO I HAD TO PUSH IN CLUTCH. IT WAS A VERY LIFE
        THREATENING SITUATION BECAUSE A BIG RIG ALMOST CRASHED INTO
        MY CAR. I COASTED TO THE SIDE OF THE HIGHWAY TO CHECK IT OUT: THE
        ENGINE WAS NOT OVERHEATING AND THERE WAS NO FLUIDS ON THE
        GROUND. AS I TRIED STARTING THE CAR UP AGAIN I COULD HEAR THE
        FUEL PUMP TURNING ON AND THE STARTER MOTOR CLICKING, BUT THE
        ENGINE WOULDN'T TURN OVER. I GOT THE CAR TOWED TO THE
        DEALERSHIP AND A FEW DAYS LATER IT WAS MADE KNOWN TO ME BY
        THE DEALERSHIP THAT MY ENGINE WAS SEIZED AND THAT I WOULD
        HAVE TO PAY $19,000 FOR A NEW ENGINE AND $6,000 FOR THE LABOR TO
        INSTALL IT. I MADE THE DEALERSHIP AWARE THAT I KEPT UP WITH THE
        MAINTENANCE, AND THAT NOTHING WAS INDICATING TO ME THAT MY
        ENGINE WAS ABOUT TO FAIL. I INSTRUCTED THE DEALERSHIP TO
        CONTACT BMW NORTH AMERICA (BMW HEADQUARTERS FOR NORTH
        AMERICA) FOR A "GOOD WILL" REPLACEMENT, BUT MY REQUEST WAS
        DENIED. THIS PROBLEM IS DIRECTLY RELATED TO THE ROD BEARING
        INSIDE THE ENGINE, WHICH GAVE OUT BECAUSE THERE IS NO
        ADEQUATE LUBRICATION TO THEM, I HEARD OF THESE ROD
        BEARINGS GIVING OUT ON THE S65 ENGINE ALL OVER WEB FORUMS,
        MULTIPLE PEOPLE HAVE HAD THIS HAPPEN TO THEM. DURING MY
        WARRANTY PERIOD I DID LET THEM KNOW THAT MY CAR WOULD GO IN
        LIMP MODE (LOW POWER MODE ON ENGINE, MAX SPEED ABOUT 40MPH)
        AND I WAS HEARING TICKING NOISES (DEALERSHIP SAID THIS WAS
        NORMAL) THAT WERE NOT PRESENT WHEN THE CAR WAS REALLY NEW
        (THE FIRST 5000 MILES I PUT ON THE CAR). THE DEALERSHIP AND BMW


          25
          The foregoing complaints are reproduced as they appear on the NHTSA website. Any
 typographical errors are attributable to the original author of the NHTSA complaint.
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       NORTH AMERICA DON'T CARE ABOUT THESE PROBLEMS WHICH WERE
       PRESENT DURING MY ENTIRE OWNERSHIP OF THE CAR (IN WARRANTY
       PERIOD) AND THEY DENIED THE FREE REPLACEMENT BECAUSE MY CAR IS
       NOW OUT OF WARRANTY. *TR

 Date Complaint Filed: 04/26/2015
 Date of Incident: 04/24/2015
 NHTSA ID Number: 10712972
 Manufacturer: BMW of North America, LLC
 Vehicle Identification No. (VIN): WBSWD93558P...
        SUMMARY:
        ENGINE BEGAN SUDDENLY MAKING A VERY LOUD KNOCKING SOUND
        WITHOUT ANY WARNING, AND I DROVE IT STRAIGHT TO SANDY SANSING
        BMW SERVICE CENTER, WHERE THEY STATED THAT THE VEHICLE HAS
        SUFFERED A CATASTROPHIC CRANK BEARING FAILURE. THE ENGINE
        HAS TO BE REPLACED NOW... CAR HAS BEEN METICULOUSLY MAINTAINED
        AND ALWAYS SERVICED AT BMW DEALERS SINCE IT WAS NEW... A CAR
        WITH 56K MILES ON IT SHOULD NOT HAVE SUCH AN EXTREME FAILURE IN
        THIS NATURE...

 Date Complaint Filed: 06/25/2015
 Date of Incident: 05/05/2015
 NHTSA ID Number: 10730302
 Manufacturer: BMW of North America, LLC
 Vehicle Identification No. (VIN): Not Available
        SUMMARY:
        TL* THE CONTACT OWNS A 2008 BMW M3. WHILE DRIVING AT 60 MPH, THE
        CONTACT HEARD A SUDDEN KNOCKING SOUND AND THE VEHICLE
        STALLED. THE VEHICLE RESTARTED, BUT THE NOISE RECURRED. THE
        VEHICLE WAS TOWED TO A DEALER WHERE IT WAS DIAGNOSED WITH
        ROD BEARING FAILURE AND THE ENGINE NEEDED TO BE REPLACED.
        THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED
        OF THE ISSUE. THE VIN AND FAILURE MILEAGE WERE UNAVAILABLE.

 Date Complaint Filed: 08/20/2014
 Date of Incident: 08/10/2014
 NHTSA ID Number: 10626663
 Manufacturer: BMW of North America, LLC
 Vehicle Identification No. (VIN): WBSDX9C57BE...
        SUMMARY:
        TICKING NOISE IN THE ENGINE GRADUALLY GOT LOUDER. OIL WARNING
        THAT IT WAS LOW ON OIL. ADDED OIL, STILL SAID IT WAS LOW, THEN
        SAID IT WAS TOO MUCH. THEN SAID IT WAS LOW (PARTICLES FROM
        BEARINGS WERE CLOGGED IN OIL SENSOR GIVING FALSE READING).
        FINALLY PARKED CAR WHEN NOISE WAS SO GREAT THAT I THOUGHT IT
        WAS GOING TO BLOW UP. ROD BEARS DISINTEGRATED ON CYLINDERS 2
        AND 5. HAD TO REPLACE THE ENGINE. *TR

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           95.    Upon information and belief, BMW regularly monitors these NHSTA databases

 as part of its ongoing obligation to identify potential defects in its vehicles. NHTSA complaints

 establish that BMW knew, or should have known, of the engine defect at least as early as July

 20, 2013, a time when many Class Vehicles were within the warranty period.

 D.        BMW’s Warranty-Related Practices

           96.    BMW issued a “New Vehicle Limited Warranty” to each owner or lessee of the

 Class Vehicles.

           97.    Under the basic New Vehicle Limited Warranty, BMW agreed to repair defects

 reported within the earlier of 4 years or 50,000 miles. The New Vehicle Limited Warranty

 warrants against defects in materials or workmanship to the first retail purchaser and to each

 subsequent purchaser. Under the warranty, BMW states it “will, without charge for parts or

 labor, either repair or replace the defective part(s) using new or authorized remanufactured

 parts.”

           98.    BMW instructs vehicle owners and lessees to bring their vehicles to a BMW

 dealership for the warranty repairs. Many owners and lessees have presented Class Vehicles to

 BMW dealerships with complaints related to the Rotating Assembly Defect.

           99.    BMW has evaded its warranty obligations by failing to tell consumers that their

 vehicles are defective and by representing that the cause of the defect is the owner’s abuse and/or

 neglect to properly maintain the engine oil and/or engine oil level. This representation, however,

 is false as the rotating assembly is inherently defective and will inevitably fail.

           100.   In addition, upon information and belief, BMW has also evaded its warranty

 obligations by requiring consumers to produce the entire maintenance history of the Class

 Vehicles, including a mandate that all oil changes be completed at a BMW dealership (an illegal


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 requirement 26), before determining whether to make the necessary repairs under warranty.

 BMW, however, knows that the defect in the Class Vehicles’ engines manifest despite owners

 and lessees following BMW’s recommended oil change schedule. In many instances, even if

 consumers produce vehicle maintenance history, BMW blames the known Rotating Assembly

 Defect and resulting engine failure on the consumer, refuses to cover the necessary repairs under

 warranty, and charges in excess of $20,000 to repair/replace the engine.

           101.   In many instances, consumers have incurred and will continue to incur expenses

 for the diagnosis of the Rotating Assembly Defect, despite such defect having been contained in

 the Class Vehicles when manufactured by Defendants, repair and replacement of the S65 Engine,

 and the unnecessary and premature replacement of the Bearings, crank shaft, oil pumps, and

 other damaged engine components.

                                       CLASS ALLEGATIONS

           102.   Plaintiffs bring this action on their own behalf, and on behalf of a California class

 pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3).

           All persons or entities in California who are current or former owners and/or
           lessees of a Class Vehicle for primarily personal, family or household purposes,
           as defined by California Civil Code § 1791(a).


           103.   Excluded from the Class are Defendants, their affiliates, employees, officers and

 directors, persons or entities that purchased the Class Vehicles for resale, and the Judge(s)

 assigned to this case. Plaintiffs reserve the right to modify, change, or expand the Class

 definition based on discovery and further investigation.

           104.   Numerosity: Upon information and belief, the Class is so numerous that joinder of

 all members is impracticable. While the exact number and identities of individual members of


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      http://www.consumer.ftc.gov/articles/0138-auto-warranties-routine-maintenance
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 the Class are unknown at this time, such information being in the sole possession of Defendants

 and obtainable by Plaintiffs only through the discovery process, Plaintiffs believe, and on that

 basis alleges, that tens of thousands of Class Vehicles have been sold and leased in California

 alone.

          105.   Existence and Predominance of Common Questions of Fact and Law: Common

 questions of law and fact exist as to all members of the Class. These questions predominate over

 the questions affecting individual Class Members. These common legal and factual questions

 include, but are not limited to, whether:

             a. The Class Vehicles were sold with the Rotating Assembly Defect;

             b. BMW knew of the Rotating Assembly Defect but failed to disclose the
                problem and its consequences to its customers;

             c. A reasonable consumer would consider the Rotating Assembly Defect or
                its consequences to be material;

             d. BMW has failed to provide free repairs as required by its New Vehicle
                Limited Warranty;

             e. BMW should be required to disclose the existence of the Rotating
                Assembly Defect; and

             f. Defendants’ conduct violates the California Legal Remedies Act,
                California Unfair Competition Law, and the other statutes and common
                law as asserted herein.

          106.   Typicality: All of Plaintiffs’ claims are typical of the claims of the Class since

 Plaintiffs purchased a Class Vehicle with the Rotating Assembly Defect, as did each member of

 the Class. Furthermore, Plaintiffs and all members of the Class sustained monetary and economic

 injuries including, but not limited to, ascertainable losses arising out of Defendants’ wrongful

 conduct. Plaintiffs are advancing the same claims and legal theories on behalf of themselves and

 all absent Class Members.




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        107.    Adequacy: Plaintiffs are adequate representatives because their interests do not

 conflict with the interests of the Class that they seek to represent, they have retained counsel

 competent and highly experienced in complex class action litigation, and intend to prosecute this

 action vigorously. The interests of the Class will be fairly and adequately protected by Plaintiffs

 and their counsel.

        108.    Superiority: A class action is superior to all other available means of fair and

 efficient adjudication of the claims of Plaintiffs and members of the Class. The injury suffered by

 each individual Class member is relatively small in comparison to the burden and expense of

 individual prosecution of the complex and extensive litigation necessitated by Defendants’

 conduct. It would be virtually impossible for members of the Class individually to redress

 effectively the wrongs done to them. Even if the members of the Class could afford such

 individual litigation, the court system could not. Individualized litigation presents a potential for

 inconsistent or contradictory judgments. Individualized litigation increases the delay and expense

 to all parties, and to the court system, presented by the complex legal and factual issues of the

 case. By contrast, the class action device presents far fewer management difficulties, and

 provides the benefits of single adjudication, an economy of scale, and comprehensive

 supervision by a single court. Upon information and belief, members of the Class can be readily

 identified and notified based on, inter alia, Defendants’ vehicle identification numbers, warranty

 claims, registration records, and database of complaints.

        109.    Defendants have acted, and refused to act, on grounds generally applicable to the

 Class, thereby making appropriate final equitable relief with respect to the Class as a whole.




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                        FIRST CAUSE OF ACTION
    VIOLATIONS OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
                (“CLRA”) (CAL. CIV. CODE § 1750, et seq.)

        110.    Plaintiffs and the Class incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

        111.    Plaintiffs bring this claim on behalf of themselves and on behalf of the Members

 of the Class against all Defendants.

        112.    Defendants are “persons” as that term is defined in California Civil Code §

 1761(c).

        113.    Plaintiffs and the Class are “consumers” as that term is defined in California Civil

 Code §1761(d).

        114.    Defendants engaged in unfair and deceptive acts in violation of the CLRA by the

 practices described above, and by knowingly and intentionally concealing from Plaintiffs and

 Class Members that the Class Vehicles suffer from defect(s) (and the costs, risks, and diminished

 value of the vehicles as a result of this problem). These acts and practices violate, at a minimum,

 the following sections of the CLRA:

        (a)(2) Misrepresenting the source, sponsorship, approval or certification of
        goods or services;

        (a)(5) Representing that goods or services have sponsorships,
        characteristics, uses, benefits or quantities which they do not have, or that
        a person has a sponsorship, approval, status, affiliation or connection
        which he or she does not have;

        (a)(7) Representing that goods or services are of a particular standard,
        quality, or grade, or that goods are of a particular style or model, if they
        are of another; and

        (a)(9) Advertising goods and services with the intent not to sell them as
        advertised.




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        115.    Defendants’ unfair or deceptive acts or practices occurred repeatedly in

 Defendants’ trade or business, were capable of deceiving a substantial portion of the purchasing

 public, and imposed a serious safety risk on the public.

        116.    Defendants knew that their Class Vehicles and their engines were defectively

 designed or manufactured, would fail prematurely, and were not suitable for their intended use.

        117.    Defendants were under a duty to Plaintiffs and the Class Members to disclose the

 defective nature of the Class Vehicles and the Rotating Assembly Defect because:

            a. Defendants were in a superior position to know the true state of facts about the
               safety defect and associated repair costs in the Class Vehicles and their engines;

            b. Defendants made some representations to the Class Members regarding the
               durability and fitness of Class Vehicles which were misleading in the absence of
               disclosures regarding the inherently defective nature of the rotating assembly;

            c. Plaintiffs and the Class Members could not reasonably have been expected to
               learn or discover that the Class Vehicles and their engine had dangerous safety
               defect until manifestation of the defect;

            d. Defendants knew that Plaintiffs and the Class Members could not reasonably have
               been expected to learn or discover the safety and security defect and the
               associated repair costs that it causes until the manifestation of the defect; and

            e. Defendants actively concealed the safety defect and the associated repair costs by
               asserting to Plaintiffs and Class Members that the cause of their engine problems
               was due to Plaintiffs and the Class Members’ inability to maintain the proper
               vehicle maintenance despite knowing the repairs needed to correct the defect.

        118.    In failing to disclose the Rotating Assembly Defect and the associated safety risks

 and repair costs that result from it, Defendants have knowingly and intentionally concealed

 material facts and breached their duty not to do so.

        119.    The facts concealed or not disclosed by Defendants to Plaintiffs and the Class

 Members are material in that a reasonable consumer would have considered them to be important

 in deciding whether to purchase Defendants’ Class Vehicles or pay a lesser price. Had Plaintiffs




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 and the Class known about the defective nature of the Class Vehicles and their engines, they

 would not have purchased the Class Vehicles or would have paid substantially less for them.

        120.    Plaintiffs have provided Defendants with notice of its violations of the CLRA

 pursuant to California Civil Code § 1782(a).

        121.    Plaintiffs and the other Class Members’ injuries were proximately caused by

 Defendants’ fraudulent and deceptive business practices.

        122.    Therefore, Plaintiffs and the other Class Members are entitled to equitable and

 monetary relief under the CLRA.

                       SECOND CAUSE OF ACTION
  VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)—
                “FRAUDULENT” BUSINESS PRACTICE
                   (CAL. BUS. & PROF. CODE § 17200)

        123.    Plaintiffs and the Class incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

        124.    Plaintiffs bring this claim on behalf of themselves and on behalf of the members

 of the Class against all Defendants.

        125.    The California Unfair Competition Law (“UCL”) prohibits acts of “unfair

 competition,” including any “fraudulent business act or practice” consisting of “deceptive, untrue

 or misleading advertising.” CAL. BUS. & PROF. CODE § 17200.

        126.    Defendants have engaged in fraudulent business practices by the conduct,

 statements, and omissions described above and in the paragraphs that follow.

        127.    Defendants have engaged in “fraudulent” business practices by knowingly and

 intentionally concealing from Plaintiffs and the Class Members that the Class Vehicles the

 material fact that the vehicles suffer from a defect in the rotating assembly of the engine, the

 manifestation of which will, at a minimum, result in increased costs of maintenance and


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 diminished value of the vehicle, and which may result in engine failure rendering the vehicle

 inoperable and may also pose a safety risk.

         128.    Defendants should have disclosed this information because it is material

 information that would affect the average consumer’s willingness to buy the Class Vehicles in

 the first place, or at a minimum, would have affected the price they would have been willing to

 pay for the vehicles. Moreover, the fact that the Rotating Assembly Defect is a safety issue

 triggered a duty on Defendants’ part to affirmatively disclose the issue to consumers.

         129.    The information was exclusively known to Defendants on account of Defendant’s

 exclusive knowledge and insight into the design and manufacture of the engines in the Class

 Vehicles and Plaintiffs and Class Members could not reasonably be expected to learn or discover

 the true facts related to the defect.

         130.    These acts and practices have deceived Plaintiffs and are likely to deceive the

 public. In failing to disclose the defect and suppressing other material facts from Plaintiffs and

 the Class Members, Defendants breached their duties to disclose these facts, violated the UCL,

 and caused injuries to Plaintiffs and the Class Members. The omissions and acts of concealment

 by Defendants pertained to information that was material to Plaintiffs and the Class Members, as

 it would have been to all reasonable consumers.

         131.    Plaintiffs seek to enjoin further fraudulent acts or practices by Defendants, to

 obtain restitutionary disgorgement of all monies and revenues generated as a result of such

 practices, and all other relief allowed under California Business & Professions Code § 17200.




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                                   THIRD CAUSE OF ACTION
                    CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)—
                           “UNLAWFUL” BUSINESS PRACTICE
                             (CAL. BUS. & PROF. CODE § 17200)

         132.   Plaintiffs and the Class incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

         133.   Plaintiffs bring this claim on behalf of themselves and on behalf of the members

 of the Class against all Defendants.

         134.   The California Unfair Competition Law (“UCL”) prohibits acts of “unfair

 competition,” including any “unlawful business act or practice.” CAL. BUS. & PROF. CODE §

 17200. A practice is “unlawful” if it violates either express statutory enactments or the common

 law of the State of California.

         135.   The distribution and sale of defective products, including defective automobiles,

 is a violation of the civil law in the State of California, as reflected in numerous published

 California appellate decisions. Defendants have thus engaged in “unlawful” business practices

 consisting of the sale and distribution of defective vehicles within the State of California. This is

 particularly true in light of the fact that Defendants distributed and sold these vehicles to

 unsuspecting consumers so even though Defendants knew or should have known about Rotating

 Assembly Defect and in light of the fact that Rotating Assembly Defect constitutes a safety issue.

         136.   Defendants’ acts and practices are unlawful because they constitute the sale

 and/or distribution of a defective vehicle in violation of California common law and/or violate

 California Civil Code §§ 1668, 1709, 1710, and 1750 et seq., and California Commercial Code §

 2313.

         137.   Defendants’ unlawful acts and practices caused economic harm to Plaintiffs and

 the Class Members by causing them to incur expenses they would not have otherwise occurred


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 but for the Rotating Assembly Defect in the Class Vehicles, but depriving them of the loss of use

 their vehicles, by rendering the vehicles worth less than they would have otherwise been but for

 the Rotating Assembly Defect, and/or by causing Plaintiffs and the Class Members to pay more

 for Class Vehicles than they would have otherwise paid if they would have bought them at all.

                                 FOURTH CAUSE OF ACTION
                    CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)—
                             “UNFAIR” BUSINESS PRACTICE
                             (CAL. BUS. & PROF. CODE § 17200)

        138.    Plaintiffs and the Class incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

        139.    Plaintiffs brings this claim on behalf of themselves and on behalf of the members

 of the Class against all Defendants.

        140.    The California Unfair Competition Law (“UCL”) prohibits acts of “unfair

 competition,” including any “unfair” business act or practice. CAL. BUS. & PROF. CODE § 17200.

 A practice is “unfair” if it violates either express statutory enactments or the common law of the

 State of California.

        141.    Under California law, “an ‘unfair’ business practice occurs when it offends an

 established public policy or when the practice is immoral, unethical, oppressive, unscrupulous or

 substantially injurious to consumers” and which cannot be justified by any legitimate

 countervailing interests.

        142.    As alleged herein, Defendants knowingly sold and distributed thousands of

 vehicles to unsuspecting consumers with inherent defects in their engines, defects that will cost

 each consumer thousands—if not tens of thousands—of dollars to repair. Making matters worse,

 because the engine defect can result in sudden, catastrophic engine failure that results in a loss of

 power steering, the defect poses a safety threat to not only the owner/operator of the Class


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 Vehicles but any other motorists or pedestrians who happen to be in the vicinity of a Class

 Vehicle when its engine fails.

           143.   Defendants knowingly obscured and concealed the defect from customers by, for

 example, attributing any symptoms of excessive rod-bearing wear to “normal exhaust expansion

 noises.” Similarly, when engines in Class Vehicles do fail under warranty, Defendants BMW NA

 shirk their warranty obligations, often by falsely accusing the owner of “over-revving” the

 engine.

           144.   By deceiving customers regarding a significant defect in the engines of the Class

 Vehicles the failure of which renders the Class Vehicles functionally useless and presents a

 safety hazard, and then compounding that deception by evading their obligations to repair or cure

 Class Vehicles that present with the defect, Defendants’ conduct is immoral, unethical,

 oppressive, unscrupulous, and substantially injurious to consumers.

           145.   The injuries suffered by Plaintiffs and the Class Members are greatly outweighed

 by any potential countervailing benefit to consumers or to competition, nor are they injuries that

 Plaintiffs and the Class Members should have reasonably avoided. Put simply, Defendants have

 no legitimate purpose behind knowingly selling vehicles with defective engines to unsuspecting

 consumers and then obscuring the fact that a defect exists when a customer presents with

 undeniable signs of excessively, accelerated rod-bearing wear.

                            FIFTH CAUSE OF ACTION
           VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAW (“FAL”)
                      (CAL. BUS. & PROF. CODE §§ 17500, et seq.)

           146.   Plaintiffs and the Class incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

           147.   Plaintiffs brings this claim on behalf of themselves and on behalf of the Members

 of the Class against all Defendants.

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         148.    California Business & Professions Code § 17500 states: “It is unlawful for any . . .

 corporation . . . with intent directly or indirectly to dispose of real or personal property . . . to

 induce the public to enter into any obligation relating thereto, to make or disseminate or cause to

 be made or disseminated . . . from this state before the public in any state, in any newspaper or

 other publication, or any advertising device, . . . or in any other manner or means whatever,

 including over the Internet, any statement . . . which is untrue or misleading, and which is

 known, or which by the exercise of reasonable care should be known, to be untrue or

 misleading.”

         149.    BMW caused to be made or disseminated throughout California and the United

 States, through advertising, marketing and other publications, statements that were misleading by

 their omission of material facts, and which were known, or which by the exercise of reasonable

 care should have been known to BMW, to be misleading to consumers, including Plaintiffs and

 the other Class Members. In particular, Defendants omitted material facts regarding the safety,

 reliability, and functionality of its Class Vehicles as set forth in this Complaint which only

 Defendants knew and which were material to a reasonable consumer insofar as disclosure of the

 omitted information would have destroyed Class Members’ willingness to purchase the Class

 Vehicles in the first place or, at a minimum, would have caused them to pay less for them.

         150.    Plaintiffs and the other Class Members have suffered an injury in fact, including

 the loss of money or property, as a result of BMW’s unfair, unlawful, and/or deceptive practices.

 Plaintiffs’ reliance is presumed because the statements at issue with respect to the safety and

 reliability of the Class Vehicles were rendered misleading by omissions of material fact. BMW’s

 representations were misleading because the Class Vehicles were distributed with the

 undisclosed Rotating Assembly Defect. Had Plaintiffs and the other Class Members known this,

 they would not have purchased or leased their Class Vehicles and/or paid as much for them.

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 Accordingly, Plaintiffs and the other Class Members overpaid for their Class Vehicles and did

 not receive the benefit of their bargain.

        151.    All of the wrongful conduct alleged herein occurred, and continues to occur, in

 the conduct of BMW’s business. BMW’s wrongful conduct is part of a pattern or generalized

 course of conduct that is still perpetuated and repeated, both in the state of California and

 nationwide.

        152.    Plaintiffs, individually and on behalf of the other Class Members, request that this

 Court enter such orders or judgments as may be necessary to enjoin BMW from continuing their

 unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs and the other Class

 Members any money BMW acquired by unfair competition, including restitution and/or

 restitutionary disgorgement, and for such other relief set forth below.

                                 SIXTH CAUSE OF ACTION
                              BREACH OF EXPRESS WARRANTY

        153.    Plaintiffs and the Class incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

        154.    Defendants provided all purchasers and lessees of the Class Vehicles with the

 express warranties described herein, which became part of the basis of the bargain. Accordingly,

 Defendants’ warranties are express warranties under state law.

        155.    The parts affected by the defect, including the rotating assembly and engine

 block, were manufactured and distributed by Defendants in the Class Vehicles and are covered

 by the warranties Defendants provided all purchasers and lessors of Class Vehicles.

        156.    Defendants breached these warranties by selling and leasing Class Vehicles with

 the defect, requiring repair or replacement within the applicable warranty periods, and refusing




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 to honor the warranties by providing free repairs or replacements during the applicable warranty

 periods.

        157.    Plaintiffs notified Defendants of the breach within a reasonable time, and/or was

 not required to do so because affording Defendants a reasonable opportunity to cure its breach of

 written warranty would have been futile. Defendants also know of the defect and yet have chosen

 to conceal it and to not comply with their warranty obligations.

        158.    As a direct and proximate cause of Defendants’ breach, Plaintiffs and the other

 Class Members bought or leased Class Vehicles they otherwise would not have, overpaid for

 their vehicles, did not receive the benefit of their bargain, and their Class Vehicles suffered a

 diminution in value. Plaintiffs and Class Members have also incurred and will continue to incur

 costs related to the diagnosis and repair of the Rotating Assembly Defect.

        159.    Defendants’ attempt to disclaim or limit these express warranties vis-à-vis

 consumers is unconscionable and unenforceable under the circumstances here. Specifically,

 Defendants’ warranty limitation is unenforceable because they knowingly sold a defective

 product without informing consumers about the defect. 27

        160.    The time limits contained in Defendants’ warranty period were also

 unconscionable and inadequate to protect Plaintiffs and members of the Class. Among other

 things, Plaintiffs and Class Members had no meaningful choice in determining these time



 27
    See Henderson v. Volvo Cars of N. Am., LLC, No. CIV. 09-4146 (DMC), 2010 WL 2925913,
 at *9 (D.N.J. July 21, 2010) (declining to dismiss express warranty claims because plaintiffs
 alleged the warranty was unconscionable due to allegations that “members of the Class had no
 meaningful choice in determining those time limitations” and “a gross disparity in bargaining
 power existed” between defendant and class members); Skeen v. BMW of N. Am., LLC, No. 2:13-
 CV-1531-WHW-CLW, 2014 WL 283628, at *12 (D.N.J. Jan. 24, 2014) (“Plaintiffs have
 adequately alleged substantive unconscionability by claiming that Defendants knew the timing
 chain tensioners would fail and manipulated the warranty terms to avoid paying for it.”).

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 limitations the terms of which unreasonably favored Defendants. A gross disparity in bargaining

 power existed between BMW and the Class Members, and BMW knew or should have known

 that the Class Vehicles were defective at the time of sale and would fail well before their useful

 lives.

          161.     Plaintiffs and the Class Members have complied with all obligations under the

 warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendants’ conduct described herein.

                                 SEVENTH CAUSE OF ACTION
                               BREACH OF IMPLIED WARRANTY
                                 (by Plaintiff Andy Dechartivong)

          162.     Plaintiff Dechartivong and the Class incorporate by reference each preceding and

 succeeding paragraph as though fully set forth at length herein.

          163.     Defendants were at all relevant times the manufacturer, distributor, warrantor,

 and/or seller of the Class Vehicles. Defendants knew or had reason to know of the specific use

 for which the Class Vehicles were purchased.

          164.     Defendants provided Plaintiff Dechartivong and the other Class members with an

 implied warranty that the Class Vehicles and any parts thereof are merchantable and fit for the

 ordinary purposes for which they were sold. However, the Class Vehicles are not fit for their

 ordinary purpose of providing reasonably reliable and safe transportation at the time of sale or

 thereafter because, inter alia, the Class Vehicles and their engines suffered from the Rotating

 Assembly Defect at the time of sale that causes the vehicles to experience premature and

 catastrophic engine failure. Therefore, the Class Vehicles are not fit for their particular purpose

 of providing safe and reliable transportation.

                 165.   Defendants impliedly warranted that the Class Vehicles were of merchantable

   quality and fit for such use. This implied warranty included, among other things: (i) a warranty

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 that the Class Vehicles and their engines were manufactured, supplied, distributed, and/or sold

 by Defendants were safe and reliable for providing transportation and would not experience

 premature and catastrophic engine failure; and (ii) a warranty that the Class Vehicles and their

 engines would be fit for their intended use while the Class Vehicles were being operated.

         166.      Contrary to the applicable implied warranties, the Class Vehicles and their

 engines at the time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiff Dechartivong and the other Class Members with reliable, durable, and safe

 transportation.

        167.       Defendants’ actions, as complained of herein, breached the implied warranty that

 the Class Vehicles were of merchantable quality and fit for such use.

                       EIGHTH CAUSE OF ACTION
        BREACH OF WRITTEN WARRANTY UNDER THE MAGNUSON–MOSS
                   WARRANTY ACT (15 U.S.C. § 2301, et seq.)

        168.       Plaintiffs and the Class incorporate by reference each preceding and succeeding

 paragraph as though fully set forth at length herein.

        169.       Plaintiffs bring this action on behalf of themselves and on behalf of the Class

 against Defendant BMW-NA, only.

        170.       Plaintiffs and the Class are “consumers” within the meaning of the Magnuson-

 Moss Warranty Act, 15 U.S.C. § 2301(3).

        171.       Defendant BMW-NA is a “supplier” and “warrantor” within the meaning of 15

 U.S.C. §§ 2301(4)-(5).

        172.       The Class Vehicles are “consumer products” within the meaning of 15 U.S.C. §

 2301(1).

        173.       Defendant BMW-NA’s New Vehicle Limited 4 years/50,000 miles warranty is

 “written warranties” within the meaning of 15 U.S.C. § 2301(6).

        174.       Defendant BMW-NA breached the express warranties by:

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           i.   Providing a 4 year/50,000 miles New Vehicle Limited Warranty with the
                purchase or lease of the Class Vehicles, thereby warranting to repair or
                replace any part defective in material or workmanship at no cost to the
                owner or lessee;

          ii.   Selling and leasing Class Vehicles with engines that were defective in
                materials and/or workmanship, requiring repair or replacement within the
                warranty period; and

         iii.   Refusing and/or failing to honor the express warranties by repairing or
                replacing, free of charge, the engine or any of its component parts in order
                to remedy the defective rotating assembly.

        175.    Plaintiffs and the other Class Members relied on the existence and length of the

 express warranties in deciding whether to purchase or lease the Class Vehicles.

        176.    Defendant BMW-NA’s breach of the express warranties has deprived the

 Plaintiffs and the other Class Members of the benefit of their bargain.

        177.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum or value of $25.00. In addition, the amount in controversy meets or exceeds the sum or

 value of $50,000 (exclusive of interests and costs) computed on the basis of all claims to be

 determined in this suit.

        178.    Defendant BMW-NA has been afforded a reasonable opportunity to cure its

 breach of the written warranties and/or Plaintiffs and the other Class Members were not required

 to do so because affording Defendant BMW-NA a reasonable opportunity to cure its breach of

 written warranties would have been futile. Defendant BMW-NA was also on notice of the

 alleged defect from the complaints and service requests it received from Class Members, as well

 as from its own warranty claims, customer complaint data, and/or parts sales data.

        179.    As a direct and proximate cause of Defendant BMW-NA’s breach of the written

 warranties, Plaintiffs and the other Class Members sustained damages and other losses in an

 amount to be determined at trial. Defendant BMW-NA’s conduct damaged Plaintiffs and the



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 other Class Members, who are entitled to recover actual damages, consequential damages,

 specific performance, diminution in value, costs, including statutory attorney fees and/or other

 relief as deemed appropriate.

                         NINTH CAUSE OF ACTION
  VIOLATION OF THE SONG-BEVERLY ACT—BREACH OF IMPLIED WARRANTY
                    (Cal. Civ. Code §§ 1792, 1791.1, et seq.)
                       (by Plaintiff Andy Dechartivong)

        180.       Plaintiff Andy Dechartivong and the Class incorporate by reference each

 preceding and succeeding paragraph as though fully set forth at length herein.

        181.       At all relevant times hereto, Defendants were the manufacturers, distributors,

 warrantors, and/or sellers of the Class Vehicles. Defendants knew or should have known of the

 specific use for which the Class Vehicles were purchased.

        182.       Defendants provided Plaintiff Andy Dechartivong and the Class Members with

 an implied warranty that the Class Vehicles, and any parts thereof, are merchantable and fit for

 the ordinary purposes for which they were sold. The Class Vehicles, however, are not fit for their

 ordinary purpose because, inter alia, the Class Vehicles and their engines suffered from an

 inherent defect at the time of sale that causes the Class Vehicles to experience premature and

 catastrophic engine failure.

        183.       The Class Vehicles are not fit for the purpose of providing safe and reliable

 transportation because of the defect.

        184.       Defendants impliedly warranted that the Class Vehicles were of merchantable

 quality and fit for such use. This implied warranty included, inter alia, the following: (i) a

 warranty that the Class Vehicles and their engines were manufactured, supplied, distributed,

 and/or sold by BMW were safe and reliable for providing transportation and would not

 prematurely and catastrophically fail; and (ii) a warranty that the Class Vehicles and their


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 engines would be fit for their intended use – providing safe and reliable transportation – while

 the Class Vehicles were being operated.

        185.       Contrary to the applicable implied warranties, the Class Vehicles and their

 engines at the time of sale and thereafter were not fit for their ordinary and intended purpose.

 Instead, the Class Vehicles are defective, including, but not limited to, the Rotating Assembly

 Defect and/or manufacture of the S65 Engines.

        186.       Defendants’ actions, as complained of herein, breached the implied warranty

 that the Class Vehicles were of merchantable quality and fit for such use in violation of

 California Civil Code §§ 1792 and 1791.1.

                          TENTH CAUSE OF ACTION
             BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

        187.       Plaintiffs and the Class incorporate by reference each preceding and

 succeeding paragraph as though fully set forth at length herein.

        188.       Every contract in California contains an implied covenant of good faith and

 fair dealing. The implied covenant of good faith and fair dealing is an independent duty and may

 be breached even if there is no breach of a contract’s express terms.

        189.       Defendants breached the covenant of good faith and fair dealing by, inter alia,

 failing to notify Plaintiffs and Class Members of the Rotating Assembly Defect in the Class

 Vehicles, and failing to fully and properly repair this defect.

        190.       Defendants acted in bad faith and/or with a malicious motive to deny Plaintiffs

 and the Class Members some benefit of the bargain originally intended by the parties, thereby

 causing them injuries in an amount to be determined at trial.




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                                ELEVENTH CAUSE OF ACTION
                                   COMMON-LAW FRAUD

        191.       Plaintiffs and the Class incorporate by reference each preceding and

 succeeding paragraph as though fully set forth at length herein.

        192.       Defendants intentionally or negligently failed to disclose material, important

 facts to Plaintiffs and the Class. In particular, Defendants did not fully and truthfully disclose to

 its customers the true nature of the inherent defect with the S65 Engine as described herein.

        193.       The existence of defect was known only Defendants on account of their

 exclusive and superior knowledge regarding the design and manufacture of the S65 Engine. As

 such, Plaintiffs and the Class did not and could not have discovered the existence of the defect at

 the time they purchased or leased their vehicles, a defect which was not readily discoverable

 until it manifested after purchase or lease, often after the New Vehicle Limited Warranty has

 expired. Thus Defendants either knew or should have known that their representations to the

 Class regarding the Class Vehicles were deceptively incomplete by omitting any reference to the

 Rotating Assembly Defect.

        194.       Defendants intended for Plaintiffs and the Class Members to rely on the

 absence of this material information in choosing to purchase or lease a Class Vehicles at the

 price they were offered for sale or lease. Plaintiffs and the other Class Members did, in fact,

 reasonably rely on the omission of this material information in choosing to purchase or lease a

 Class Vehicles at the price they were offered for sale or lease. Had Plaintiffs and the Class

 Members known about the Rotating Assembly Defect, they would not have purchased or leased

 the Class Vehicles, or would have done so at a lower price.




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        195.        As a result, Plaintiffs and the other Class Members were fraudulently induced

 to lease and/or purchase the Class Vehicles with the said defect and all of the resultant problems

 and have suffered damages as a result.

                                         PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves and members of the Class,

 respectfully request that this Court:

        A. determine that the claims alleged herein may be maintained as a class action under

            Rule 23 of the Federal Rules of Civil Procedure, and issue an order certifying the

            Class as defined above;

        B. appoint Plaintiffs as the representative of the Class and his counsel as Class counsel;

        C. award all actual, general, special, incidental, statutory, punitive, and consequential

            damages and restitution to which Plaintiffs and the Class Members are entitled

            (except such damages are not currently sought by Plaintiff Andy Dechartivong under

            the CLRA);

        D. award pre-judgment and post-judgment interest on such monetary relief;

        E. grant appropriate injunctive and/or declaratory relief, including, without limitation, an

            order that requires Defendants to repair, recall, and/or replace the Class Vehicles and

            to extend the applicable warranties to a reasonable period of time, or, at a minimum,

            to provide Plaintiffs and Class Members with appropriate curative notice regarding

            the existence and cause of the Rotating Assembly Defect;




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       F. award reasonable attorneys’ fees and costs; and

       G. grant such further relief that this Court deems appropriate.


 Dated: November 16, 2016

                                             Respectfully submitted,

                                     By:     //s// Matthew D. Schelkopf
                                             Matthew D. Schelkopf
                                             McCuneWright LLP
                                             555 Lancaster Avenue
                                             Berwyn, Pennsylvania 19312
                                             Telephone: (610) 200-0581
                                             E-mail: mds@mccunewright.com


                                             Paul J. Scarlato
                                             GOLDMAN SCARLATO & PENNY, P.C
                                             Eight Tower Bridge, Suite 1025
                                             161 Washington Street
                                             Conshohocken, PA 19428
                                             Telephone: (484) 342-0700
                                             Facsimile: (484) 580-8729
                                             E-mail: scarlato@lawgsp.com


                                             Benjamin I. Siminou (admitted pro hac vice)
                                             THORSNES BARTOLOTTA McGUIRE LLP
                                             2550 Fifth Avenue, Eleventh Floor
                                             San Diego, California 92103
                                             Telephone: 619-236-9363
                                             Facsimile: 619-236-9653
                                             E-mail: siminou@tbmlawyers.com




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